August 31, 2020


Mr. Arthur M. Love, IV
2064 Lake Grove Lane
Crofton, Maryland 21114

Dear Mr. Love:

        Please be advised that effective August 30, 2020, you were terminated from your Political Special
Appointment Position in the Governor’s Office of Community Initiatives pursuant to your conversation with
Executive Director Steven McAdams on that day at 8:40 A.M. Furthermore, you were relieved of your duties as
Deputy Director of that office pursuant to your conversation with Executive Director McAdams on August 29,
2020, at 12:31 P.M. Please make immediate arrangements to return all equipment in your possession issued to
you by the State of Maryland.

         In accordance with §11-113 of the State Personnel and Pensions Article, you may appeal the termination
by filing a written appeal within 15 days of your receipt of this letter. Your appeal should be sent to Mona Vaidya,
Director, Governor’s Office of Financial Administration. The appeal may only be based on the grounds that the
action was illegal or unconstitutional. The decision on your appeal is the final administrative decision on this
matter.

        I thank you for your service with the Governor’s Office of Community Initiatives and wish you the best
in your future endeavors.

Sincerely,




Steven J. McAdams, Executive Director
Governor’s Office of Community Initiatives


cc: Allison Mayer, Deputy Chief of Staff, Office of the Governor
    Mona Vaidya, Director, Financial Administration, Office of the Governor
    Official Personnel File


                                                                                        EXHIBIT B
